     Case 1:18-cv-00339-RJJ-PJG ECF No. 9 filed 05/29/18 PageID.68 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


MALIBU MEDIA, LLC,

               Plaintiff,
                                                             File No: 1:18-CV-339
v.
                                                             HON. ROBERT J. JONKER

JOHN DOE subscriber assigned IP
Address 99.121.72.17,

               Defendant.
                                    /


                            NOTICE OF IMPENDING DISMISSAL

        The court records indicate that more than 60 days have passed from the filing of the

above complaint and defendant, JOHN DOE, named as John Doe subscriber assigned IP address

99.121.72.17, has not been served. This notice serves to inform plaintiff that the action shall

be dismissed without prejudice as to the named defendant, unless plaintiff completes service of

process within 90 days after the filing of the complaint, or demonstrates good cause for extension

of the summons, in accordance with Federal Rule of Civil Procedure 4(m).


Date:    May 29, 2018                         /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
